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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

SIERRA BOUCHER, LILY ENGEBRECHT,
NATASSIA TUHOVAK, HANNAH WHELAN, and
CASSIDY WOOD,
                                                              DEFENDANT’S LOCAL RULE 56.1
                        Plaintiffs,
                                                              STATEMENT OF MATERIAL FACTS
          vs.
                                                                Case No. 1:22-cv-00381-CCR
TRUSTEES OF CANISIUS COLLEGE,

                        Defendant.


          Pursuant to Local Rule 56.1 and the Court’s Individual Practices, defendant Canisius

College submits this Statement of Material Facts as to which defendant contends there is no

genuine issue to be tried:


                 Undisputed Material Facts Related to All Claims         Evidentiary Support


     1.          On Monday, January 28, 2019, the Title IX             Declaration of Linda
                 Coordinator     at    Canisius    College,  Linda     Walleshauser, dated July
                 Walleshauser, learned from Professors Susan           21, 2022 (“Walleshauser
                 Margulis and Elizabeth Hogan that a student had       Dec.”) at ¶ 3.
                 approached them to express “concerns” about
                 certain behaviors of Professor Michael Noonan.

     2.          This January 28 communication was the first report Walleshauser Dec. at ¶ 5.
                 that Ms. Walleshauser had received reflecting any
                 concern about Professor Noonan, a tenured faculty
                 member who had taught at Canisius for many years.

     3.          Professors Margulis and Hogan did not divulge the Walleshauser Dec. at ¶ 4.
                 student’s name to Ms. Walleshauser, nor did they
                 provide significant details as to the concerns
                 expressed by the student. Rather, they strongly
                 encouraged the student to report her concerns
                 directly to the College’s Title IX Office.



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           Plaintiffs’ Reports to the Title IX Office (February 11, 2019)
4.       On Thursday, February 7, 2019, Ms. Walleshauser Walleshauser Dec. at ¶ 6.
         received an email from Canisius student (and current
         plaintiff) Natassia Tuhovak, requesting to meet and
         “discuss some concerns” she was having with “a
         professor.” Natassia did not disclose Professor
         Noonan’s name at that time.

5.       Ms. Walleshauser was out of town and off campus Walleshauser Dec. at ¶ 6.
         on February 7, but she responded to Natassia within
         six minutes. They scheduled a meeting for 8 AM on
         Monday, February 11, 2019, which was the first day
         Ms. Walleshauser was scheduled to return to
         campus.

6.       Natassia emailed Ms. Walleshauser again on Friday, Walleshauser Dec. at ¶ 7.
         February 8, 2019 stating that “other students” with
         “some concerns” wished to join their meeting. Ms.
         Walleshauser stated that they were welcome to join.

7.       On Monday, February 11, 2019 at 8 AM, Ms. Walleshauser Dec. at ¶ 8.
         Walleshauser met with eight students (including all
         five current plaintiffs) to discuss their concerns.

8.       At this meeting, the students reported a variety of Walleshauser Dec. at ¶¶
         concerns about Professor Noonan’s behavior, 8-9.
         including behavior on a recent trip he had led to
         India, which concluded in January 2019; the
         reported concerns included:
         • Having female students assist Professor Noonan
             in stretching his leg;
         • Professor Noonan’s adjustment of the clothing of
             female students, such as tucking in bra straps at
             the shoulder area or assisting with microphone
             placements, prior to video recordings;
         • Braiding the hair of certain female students;
         • Discussing the process of using suppositories or
             enemas to assist students suffering from
             digestive difficulties while on the India trip, and
             offering to assist students with the placement and
             insertion of these health aids;
         • Inappropriate discussions of the romantic lives
             of students, and occasional discussions of his
             own romantic life;
         • Commenting about student appearances, and
             occasionally demeaning students; and

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          •   Showing cultural insensitivity to certain
              members of the local citizenry on the India trip
              that recently had concluded.

                         The College’s Immediate Response
9.        During the February 11 meeting, Ms. Walleshauser Walleshauser Dec. at ¶ 10.
          alerted the students to various supportive measures
          that the College could provide, such as mental health
          counseling and academic accommodations.

10.       Ms. Walleshauser also described in general terms the Walleshauser Dec. at ¶ 10.
          Title IX process at the College, making reference to
          the Sexual and Gender-Based Misconduct Policy
          that was posted on the Canisius website.

11.       Subsequent to the February 11 group meeting, Ms. Walleshauser Dec. at ¶ 11.
          Walleshauser conducted individual meetings with
          each student, including all five current plaintiffs.
          These meetings occurred between Monday,
          February 11 and Wednesday afternoon, February 13.

12.       Ms. Walleshauser encouraged the students to Walleshauser Dec. at ¶ 12.
          provide written statements summarizing their
          concerns, as well as the concerns of any others. Ms.
          Walleshauser received these statements on or before
          Wednesday, February 13.

13.       On the same day as the group meeting (Monday, Walleshauser Dec. at ¶ 13.
          February 11), Ms. Walleshauser immediately
          notified Canisius President John Hurley, Professor
          Margaret McCarthy (the College’s Vice President
          for Academic Affairs), and Professor Peter Schaber,
          the Dean of the School of Science about the reports
          she had received.

14.       Canisius leadership determined as of Thursday, Walleshauser Dec. at ¶ 14.
          February 14, that Canisius would place Professor
          Noonan on involuntary leave, relieve him of all
          teaching and academic responsibilities, and direct
          that he neither visit campus unescorted, nor contact
          any Canisius student in any way, as the investigation
          proceeded.

15.       That same day, Ms. Walleshauser, learned that Walleshauser Dec. at ¶ 15.
          Professor Noonan was traveling out of the area and


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          was not scheduled to return to campus for a week—
          until February 21, 2019.

16.       On February 15, Professor Elizabeth Hogan, a Co- Walleshauser Dec. at ¶ 16.
          Chair of the Biology Department, notified the eight
          student complainants that the investigation of
          Professor Noonan would be ongoing.

                           Professor Noonan’s Suspension
17.       Professor McCarthy and Ms. Walleshauser met with Walleshauser Dec. at ¶ 17;
          Professor Noonan on February 21, 2019. At this Exhibit A.
          meeting, they notified him that he was being
          suspended, effective immediately and for an
          indefinite period, and that he was prohibited from
          communicating with students during his suspension.

18.       At the February 21 meeting, Professor McCarthy Walleshauser Dec. at ¶ 17;
          and Ms. Walleshauser also notified Professor Exhibit A.
          Noonan that retaliation was prohibited, and any acts
          of retaliation would merit disciplinary action,
          including immediate termination.

19.       Professor McCarthy sent a letter to Professor Walleshauser Dec. at
          Noonan on February 21 confirming these directives, Exhibit A.
          in writing.

20.       As of February 21, the College locked Professor Walleshauser Dec. at ¶ 18.
          Noonan out of his Canisius email access and online
          accounts; emails sent to his account were forwarded
          to Professors Margulis and Hogan for appropriate
          handling.

21.       Professor Hogan notified the eight students, on Walleshauser Dec. at ¶ 19.
          February 21, that Professor Noonan was on leave
          from the College, and that he had been counseled
          that retaliation was unacceptable.

22.       Ms. Walleshauser periodically informed the students Walleshauser Dec. at ¶¶
          of the College’s progress with respect to the 26-27.
          investigation, although because this was a
          confidential employment-related matter, she did not
          delve into the details with the students.

23.       Ms. Walleshauser e-mailed the eight students on Walleshauser Dec. at ¶ 30;
          June 11, 2019, informing them that Professor Exhibit B.


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          Noonan had retired as of June 1, 2019, and would
          not be returning to Canisius.

24.       Plaintiff Boucher replied to this June 11 e-mail, Walleshauser Dec. at ¶ 30;
          stating, “Thank you for your help along this process. Exhibit C.
          We really appreciate the work you and Canisius
          College have put in regarding our concerns.”

25.       The College’s Spring 2019 semester ended on May Walleshauser Dec. at ¶ 29,
          10, 2019, and at that time the students left campus. note 3.

26.       At no time after February 14, 2019 did Professor Walleshauser Dec. at ¶ 31.
          Noonan teach a class, oversee a research project,
          travel with a student, or have any contact whatsoever
          with any Canisius student.

                       Alternative Academic Accommodations
27.       Between February 14 and 21, 2019, senior College Walleshauser Dec. at ¶ 16.
          officials worked with the Departmental leadership in
          the Biology and Animal Behavior, Ecology, and
          Conservation Departments (Professor Noonan’s
          home departments) to identify alternate instructors
          for his assigned class for the Spring 2019 semester.

28.       Professor Malini Suchak took over lecturing Walleshauser Dec. at ¶¶
          responsibilities for Professor Noonan’s BIO 316: 20-21.
          Social Organization of Mammals course, and
          Professor Suchak and Professor Margulis shared
          duties overseeing the lab portion of the class.

29.       On February 21, the eight student complainants      Walleshauser Dec. at ¶ 22.
          were instructed to schedule meetings with Professor
          Hogan or Professor Margulis to discuss the details
          as to how to proceed with their research projects
          and documentaries.

30.       On February 26, 2019, Professor Margulis notified    Walleshauser Dec. at ¶ 23.
          Ms. Walleshauser that she had met individually
          with each of Professor Noonan’s research students,
          and they had developed plans to transcribe and
          video score their various projects, including the
          “Project Tiger” work related to the January 2019
          India trip.

31.       Professor Christy Hoffman helped students prepare    Walleshauser Dec. at ¶¶
          for Ignatian Scholarship Day presentations, and      24-25.

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              Departmental faculty divided up responsibility for
              administrative functions such as academic
              counseling and graduate school recommendations.



Dated: July 22, 2022                       WARD GREENBERG HELLER & REIDY LLP

                                           By:    /s/ Thomas S. D’Antonio
                                                      Thomas S. D’Antonio
                                                      Christine M. Naassana

                                           1800 Bausch & Lomb Place
                                           Rochester, New York 14604
                                           Telephone: (585) 454-0700
                                           Facsimile: (585) 423-5910
                                           tdantonio@wardgreenberg.com
                                           cnaassana@wardgreenberg.com

                                           Attorneys for defendant Canisius College, sued here
                                           as Trustees of Canisius College




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